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                            IN    THE    UNITED      STATES     DISTRICT     COURT
                            FOR THE       EASTERN DISTRICT OF            VIRGINIA
                                              Richmond Division




WILLIAM D.            SROUFE,         Ed.D.,

         Plaintiff,

V.                                                              Civil Action No.            3:23cv548


SCRIPS MEDIA,              INC.,
t/a WTVR and/or CBS6,

         Defendant.




                                              MEMORANDUM    OPINION


         This matter is before the Court on the MOTION TO DISMISS                                         (ECF

No.     10)        filed by the           defendant        Scripps      Media,       Inc.     ("Scripps,
                                                                                                             //




                  or the "Defendant") , and the supporting, opposing and reply
\\
     WTVR,
             //




memoranda            (ECF Nos.          11,    15   and 16).       For     the      reasons      set   forth


below,            the MOTION TO DISMISS                (ECF No.   10)    will be denied.


                                                    BACKGROUND


         William           D.    Sroufe,         the    holder     of    a    doctoral           degree    in

education and formerly the Superintendent of the Colonial Heights

Public            Schools       ("CHPS")        filed    this     action     alleging        a    claim    of

defamation against "Scripps t/a WTVR and/or CBS6.                                          The    facts,   as
                                                                                      //




expressed             in        the     COMPLAINT          (ECF    No.       1) ,     are        relatively

straightforward.                  In particular,           on February 17,           2023, WTVR aired

a news story about Sroufe's exit as                               the Superintendent of CHPS.

The Complaint asserts that the story was materially false because
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it reported that Sroufe was "ousted" when,                           in fact,       he was not and

because:     (1)     it        falsely       implied      that       Sroufe    had          covered         up

complaints about improper conduct on the part of the softball coach

at Colonial Heights High School which allowed the coach to escape

criminal    prosecution;              and    (2)   the    story      falsely        suggested           that

Sroufe was fired for covering up those complaints.

        It is also alleged that WTVR,                    through its reporter,                    Melissa

Hipolit,    knew that the allegedly false statements were false and

knew in fact       that      Sroufe had not been            "ousted"     but       had voluntarily

resigned from his position.                   Moreover,      according to the COMPLAINT,

Hipolit knew that:             (!)    the sole source of the false narrative which


Hipolit     had    so     enthusiastically              propagated,       in       fact,         had    told

Hipolit a material falsehood about the story;                               and     {2)      the School

Board's    attorney actually had not                     only denied any cover up,                          but

also had provided Hipolit with evidence                              that negated the              claims

asserted by Hipolit's impeached source                        {ECF No. 1,           1 2) .1

        According       to      the      COMPLAINT,      Hipolit       bills        herself            as    an


investigative reporter who is                      always     on the     lookout           for a great

story      {ECF No.       1,    11 26)      and Hipolit publishes her stories under



^ The   COMPLAINT       alleges          that,     although      a   number        of     news    outlets
covered Sroufe's parting company with the School Board, only WTVR
made false claims that he had covered up the misconduct allegations
against the high school's softball coach and only WTVR quoted the
person as saying that Sroufe was responsible for the softball coach
scandal    and needed to be accountable.                         (ECF No.     1,        H 3) .
                                                    2
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WTVR's      Problem       Solvers    Investigation"              banner.     In    sum,   the


COMPLAINT casts Hipolit as a sensationalist who cared not at all

that her    source had been impeached and who disregarded evidence

that refuted the narrative she wanted to pursue.

       Taken as a whole,        the COMPLAINT thus alleges that Hipolit not

only defamed Sroufe but did so knowingly and that she embellished

the defamatory words with verbal and written comments laden with

emotion,    underscoring and symbols,                  all of which was calculated to

exaggerate the significance of the story that Hipolit was touting

without regard to whether what was being said was true or not.                             It



is also alleged that,          as part of her wrongful, defamatory conduct,

Hipolit doctored video material by making an answer given by Sroufe

to one question appear to be his response to an entirely different

question.

       A   review         of   the    textual           material       and   the    recorded


presentations given by Hipolit that are identified in the COMPLAINT

teaches    that   a finder of        the    fact       reasonably could conclude that

the reporting about Sroufe was laced with text, tone,                         and innuendo

that   presented      a    knowingly       false       picture    of   Sroufe's    departure

from his     job as       Superintendent          of    schools     in Colonial     Heights.

The allegations of the COMPLAINT,                      if proved,      also would permit a

reasonable inference that Hipolit knew that the key source for her

stories blaming Sroufe for a cover up and saying that he had been

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ousted from his        job were       just     not true.           In    other words,        if    the

factual allegations made in the COMPLAINT are proved,                                  a reasonable

jury could certainly find in Sroufe's favor.

        Finally,     the COMPLAINT alleges that the defamatory statements

substantially harmed Sroufe               {ECF No.         1,    p.     32).     In particular,

those    statements       resulted       in   a     withdrawn          job    offer,     foreclosed


other job offers,         destroyed his previously favorable reputation,

and caused continuing reputational and emotional harm.

        In   support    of   its   MOTION         TO     DISMISS,        the    Defendant       makes

several      arguments.      First,      it   contends          that    the    word     "ousted"    as


used in the reports is not defamatory as a matter of law.                                   Second,


it argues that use of the word "ousted"                           is the expression of an

opinion and thus, as a matter of law, it is not actionable.                                  Third,


the Defendant argues that the challenged statements were true,                                      or




substantially true,          and thus         not      actionable as           a matter of        law.

Finally,      the    Defendant     argues         that    actual        malice     has    not     been

adequately pled.          Each of those arguments will be considered in

turn.


                                         DISCUSSION



        The parties are in agreement respecting the applicable law.

They therefore         agree   that      to prevail on a defamation claim in

Virginia, a plaintiff is obligated to prove                            a publication of false

information         concerning     the    plaintiff             that    tends     to    defame     the

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plaintiff's reputation.                             Hatfill V.         New York Times Co.^              416     F.3d
                                           If




320,    330     (4th        Cir.         2005) .         That         concept      devolves       into         three

elements:             (1)    publication of                  (2)      an actionable        statement           with
                 \\




(3)    the requisite intent.                        Chapin v.         Knight-Ridder,           Inc.,     993    F.2d
                                                n




1087,    1095    (4th Cir.               1993) .       They also agree that for a statement

to    be actionable           it must               be both      false and defamatory;                  that       the

statement       must        tend         so     to harm the            reputation of           another as           to

lower    him    in the        estimation of                  the       community or        to    deter         third

persons from associating or dealing with him.                                            Chapin,        993     F.2d
                                                                                    //




at    1092.     Finally,                they agree        that        Sroufe must establish actual

malice because he              is a public                figure.        See    New York Times               Co.    v.

Sullivan,       376 U.S.        254,            279-80    (1964).

        These    principles                guide       the       assessment        of    the    arguments           on

which the Defendant bases its request for dismissal.


1.      The Word        "Oust"           Can Be Defamatory

        The    February        17,         2023       Story      trumpeted         in bold      letters         that

the     School        board votes                to oust         Colonial       Heights        superintendent

during    emergency meeting.                             (ECF No.        1,    H   100    and Exhibit              C) .

Hipolit        embellished                that        declaration             by     adding:            Breaking:
                                                                                                   \\




Colonial        Heights                 School        Board           unanimously         votes         to      oust

Superintendent Dr. William Sroufe.
                                                                 //
                                                                       The    Defendant        takes     the    view


that    the    word     "oust            is not susceptible of defaming anyone.
                                   ft




                                                             5
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         That     view        ignores     the       fundamental                    precept       that,        when

assessing whether a word is susceptible to defamatory meaning.                                                  it


is given its ordinary and usual definition.                                        As the Supreme Court

of Virgina long ago put that controlling principle:

                 [I]t        is    a    general          rule           that        allegedly
                 defamatory words are to be taken in their
                 plain and natural meaning and to be understood
                 by courts and juries as other people would
                 understand them, and according to the sense in
                 which they appear to have been used.

Carwile v.        Richmond Newspapers,               Inc.,            82    S.E.2d        588,   591-92       (Va.

1954) .

         As a transitive verb,            oust means                  to remove from or dispossess
                                                                 \\




of   property       or        position     by       legal             action,        by     force,       by    the

compulsion              of         necessity.                                      merriam-webster.com.
                                                u
                                                            Oust,


https://www.merriam-webster.com/dietionary/oust.                                           The   same     source


lists as synonyms for the word oust the following:

                 banish                                   boot             (out)
                 bounce                                   cast          out

                 chase                                    dismiss
                 drum    (out)                            eject
                 expel                                    extrude
                 kick out                                 out
                 rout                                     run          off
                 throw       out
                 turn    out




         Another    source         (dictionary.com)                   defines       the     verb     oust"      to



mean      to expel or remove from a place or position occupied or to

                   evict                 dispossess.                         Oust,         dictionary.com.
                                                            //

ej ect      or                     or



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https://www.dictionary.com/browse/oust.                                               Thesaurus.com              lists         as


synonyms        for        the     word                             the        words:        "depose,            dethrone,
                                               u
                                                    oust
                                                           tt




dislodge,       drive out,          eject,               evict,      fire,          force out,          let go,         lose.

                     sack,         topple,                 unseat.                                  thesaurus.com.
                                                                          ft
remove,                                                                               Oust,


https://www.thesaurus.com/browse/oust.

       Quite         clearly,           the    plain            meaning             of      the    word
                                                                                                            \\
                                                                                                                 oust
                                                                                                                        tt
                                                                                                                               IS




negative and connotes an event that is other than voluntary.                                                                 And,

when    "oust         is       linked with a reported termination of employment,
                tt




well-established Virginia                           law permits                a    reasonable          jury      to         find

that the      statement reasonably would be understood to be a report

that    the      termination              of            Sroufe's          employment              was    involuntary.

forcible,       and against his will.                               Indeed,           considering         the      context

of    its use in this case,                   it might be difficult for a jury to reach

any other conclusion.

        The Defendant argues otherwise by citing decisions that say

that    stating           or    implying
                                                   \\
                                                        that    someone            has    been     terminated                from


employment            or       terminated                for        cause,          without         more,          is         not

defamatory.
                     «2
                           Those        decisions               simply         do     not    apply here            because

the    COMPLAINT alleges                 considerably more                          than just           a termination

for    cause.         Thus,       the    limiting principle                           ("without more")              of the



2 Yoho V. Bank of N.Y. Mellon Corp., No. 21-1071, 2022 WL 296637,
at *3 (3d Cir. Feb. 1, 2022) ; see also Estepp v. Johnson Cnty.
Newspapers, Inc., 578 S.W.3d 740   (Ky.                                         Ct.      App.     2019);         Picard v.
Brennan, 307 A.2d 833, 834 (Me. 1973).
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decisions           on          which     the        Defendant         relies          IS    not         operative        in

assessing the legal sufficiency of the COMPLAINT in this case.                                                            In

particular,                 the COMPLAINT clearly alleges that the Defendant made

it     clear           that        Sroufe's           separation            from        his            employment       was


involuntary because he had engaged in misconduct                                                      (covering up the

very wrongful conduct of the softball coach) when,                                                     in fact,    Sroufe

left his employment voluntarily and was not engaged in the alleged

cover    up.               In other words,                 giving      "oust"      its       plain           and natural

meaning,       and reading                 it    in the          sense      in which              it    was used,        the


word                            reasonably           could    be       found      to        be        both     false     and
         w            tt
             oust



defamatory.                      The     Defendant's          argument            to    the            contrary        fails

because it does not recognize the plain and natural meaning of the

word    "oust
                 tt
                            in    the    sense        it   was       used   and    in       the        context     it    was


used.        Therefore,                the argument           simply does not pass muster under

Virginia law.


2 .     Oust as Opinion

        The Defendant                    next    contends            that   calling          Sroufe's          firing     as


being ousted is the                        expression of               an opinion and therefore not

actionable                 as   a matter        of    law.       In support of               that argument,              the

Defendant        takes             the    view       that    use      of    the   term                ousted      is    both
                                                                                                 \\




relative       in nature                 and based on                fully disclosed facts                     regarding

the     abrupt             and unexpected              termination           of    Sroufe's               employment       a



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year before            his       contract          expired.               From      the     allegations            of    the
                                                                tt




COMPLAINT,         that argument quite clearly lacks merit.

        Oust certainly                 is not       a relative              word.         To the    contrary,             it

is    absolute          and      factual       in    its    nature             and     in   its    common          usage.


The relativity argument proceeds                                from the notion that                     the       report

of    Sroufe's          departure            (as     having          been        ousted)      could          have       been

construed by a reader as voluntary.                                       That view ignores the pleaded

facts       that       Sroufe       was      neither        forced             to    resign       nor        to    sign    a

Separation Agreement and that both decisions were made of Sroufe's

own     free       will       and      his     choice       and           without         compulsion.               Those



allegations            must       be   taken        as   true.             The      Defendant's          relativity

argument          is    the      naked argument              of       counsel          supported by neither

cited       law    nor       a   reasonable           reading             of     the    COMPLAINT.                And,    as


explained above, the relativity argument ignores the plain meaning

of    the   word       "oust"       and      the    sense       in which it was               used.


        The doctrine of                 "fully disclosed facts"                           operates to insulate

an    alleged           defamatory            statement.                   That        argument         is        likewise

lacking in merit.                   The alleged false implication                             (that Sroufe was

ousted or fired because he was involved in covering up allegations

of    misconduct          against            the    coach)           is    not      protected       by       the     fully

disclosed              facts        doctrine          because              the         disclosed         facts           are




themselves             defamatory and               false according to the                        allegations             of

the    COMPLAINT.             Enigma Software Grp. USA,                           LLC v. Bleeping Computer

                                                            9
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LLC,     194    F.     Supp.       3d   263,    287         (S.D.N.Y.       2016);      Jewell       v.         NYP


Holdings,       Inc.,       23 F.    Supp.     2d 348,        377    {S.D.N.Y.       1998).      Of equal

importance here is that the facts were not fully disclosed because.

according       to     the     COMPLAINT,        the        Separation         Agreement       was    never


made known to the reader with the contested version of                                       the reported

story.         Nor    was    the     Separation Agreement                  ever     displayed        on         the

screen during the              telling of            the    story.        As   a   result,     those            who


watched the sensational story that aired on February 17, 2023 would

not    have      had     access         to     the     facts        respecting         the    Separation

Agreement and what it said pertaining to Sroufe's departure.

        Thus, the false and missing information (if proved to be false

and    missing)        preclude         application           of    the     fully      disclosed          facts

doctrine.



        The Argument That The Stories Are Not "Of And Concerning
                                                                                                           //
3.
        Sroufe


        For     reasons        neither         explained           nor    readily       apparent,               the

Defendant asserts              that     the alleged defamatory statements are not

of and concerning Sroufe. That simply does not withstand scrutiny.

One cannot           read the       February 17 report,                  or the    related reporting

in December,          and fail to conclude that the reporter is saying that

Sroufe covered up the charges against the softball coach and was

fired    because        of    it.       By any measure,              that      is of    and concerning

Sroufe.        Considering the allegations of the COMPLAINT and giving

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them     their      reasonable                inferences,                and    considering         the      alleged

defamatory statements and the                              context in which they were made,                            a

reasonable          jury        could          find            that      the     Defendant's           defamatory

reliance       on   those       statements                were      of   and    about     Sroufe.



4 .     Actual      Malice


        The COMPLAINT recognizes that it is plaintiff's obligation to

plead and prove actual malice,                                  a subjective measure of                   what       the

defendant actually thought.                               Harte-Hanks            Communications,             Inc,    v.


Connaughton,           491     U.S.          657,        666    n.7      (1989);        Reuber v.      Food     Chem.

News,    Inc.,      925      F.2d 703,              715    (4th Cir.           1991).

        As the Supreme Court of the United States held in St. Amant

V .   Thompson,        390      U.S.         727,        731-32          (1968),    actual       malice        can    be

found     if    there      is          sufficient              evidence         to permit        the   conclusion
                                  \\




that    the     Defendant              in    fact        entertained           serious      doubts      as     to    the


truth     of     his      publication.                     Publishing           with      such    doubts        shows

reckless        disregard              for    truth or falsity and demonstrates                                actual

malice.          The COMPLAINT alleges that the Defendant was                                           on notice

that the entire story was based on a highly unreliable                                                 source,       one




who     was    known      to    have          made        materially            false      statements          on    the

topic.         It is also alleged that, with that knowledge, the Defendant

repeatedly          published                the     statements            of    that      source       about        the

alleged        cover      up          with         the    high        degree       of    awareness        of    their
                                 \\




probable falsity.                      Garrison v.             Louisiana,          379 U.S.      64,    75     (1964).
                                                               11
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In that regard,           it is alleged that,                   by the time of the February 17

news story,           Hipolit:          (a)   knew that         Allen had lied           to   her    about    a


material        issue involving the                  investigation of           the      softball coach

(ECF No.        1,    t 74) ;     (b)     knew that Sroufe and the school system had

not    only         denied      the     cover       up    accusations         but    had      provided       an


objective factual basis for the denial,                               (ECF No. 1, HH 60, 79-80);

and     (c)    possessed a Virginia State                        Police      interview report           that

cast doubt on the source's claims that she had previously reported

specific         misconduct           complaints           about      the    coach       to    the    school

system,        (ECF No. 1, HH 65-66, 74-75).                       Additionally,           the COMPLAINT

alleges         (and provides documentary support for the allegations by

way of FOIA requests and third-party emails)                                    that Hipolit had a

preconceived narrative about Sroufe and his role that she intended

to    foster no matter             what       the   real      facts   were.         (ECF No.    1,    H 38).

Those         allegations,         if     proven,         are    sufficient         to    establish         the

element        of    actual malice.^




3 The     Defendant          asserts,         as    a    defense      to    actual    malice,        that    it
published Sroufe's claims of innocence and his denials.  Although,
if proven, those asserted facts could be submitted to a jury as
probative of the lack of actual malice.    However, the allegation
of  those facts  in a Motion to Dismiss    is                                   not       sufficient         to
establish a lack of malice as a matter of law.
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                                      CONCLUSION



       For the foregoing reasons,         the MOTION TO DISMISS    (ECF No.   10)

filed by the defendant.            Media Scripps,   Inc.   t/a WTVR and/or CBS6

will   be   denied.


       It   is   so   ORDERED.




                                                            /s/
                                        Robert E.   Payne
                                        Senior United States District Judge




Richmond, Virg^ia
Date: April           p ,   2024




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